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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


MICHAEL SMITH,                    )
                                  )
     Petitioner,                  )
                                  )         CIVIL ACTION NO.
     v.                           )           2:17cv270-MHT
                                  )                (WO)
UNITED STATES OF AMERICA,         )
                                  )
     Respondent.                  )

                                ORDER

    This cause is now before the court on petitioner's

notice of appeal (doc. no. 28), which the court is

treating as a motion for certificate of appealability.

    To    obtain    a   certificate       of    appealability          the

prisoner must make a "substantial showing of the denial

of a constitutional right."             28 U.S.C. § 2253(c)(2).

The court finds that the petitioner has failed to make

this showing.

    Accordingly, it is ORDERED that petitioner's motion

for a certificate of appealability is denied.

    DONE, this the 13th day of July, 2020.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
